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Attorney for Plaintiff


                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO

 ROBIN D. ANDREWS, individually, and as                 Case No . 2: 18-cv-
 Personal Representative of the Estate of Craig
 A. Johnson,                                            DECLARATION OF APRIL M.
                                                        LINSCOTT IN SUPPORT OF
                         Plaintiff,                     MOTION TO SET BOND
                                                        AMOUNT
 vs.

 BONNER COUNTY, a political subdivision of
 the State of Idaho, BONNER COUNTY
 SHERIFF' S OFFICE, a department of Bonner
 County, BONNER COUNTY SHERIFF
 DARYL WHEELER, in his individual and
 official capacity, GARY MADDEN, in his
 individual and official capacity, SHAWN
 DEEM, in his individual and official capacity,
 JORDAN THOMSON, in his individual and
 official capacity, TED SWANSTROM, in his
 individual and official capacity, PHIL STELLA,
 in his individual and official capacity, and TIM
 REYNOLDS, in his individual and official
 capacity, and DOES 1-10,

                         Defendants.


           I, April M. Linscott, declare under the penalty of pe1jury that following statements

are true and correct:

          1.    I am over the age of 18 and competent to testify about the matters stated

herein.

DECLARATION OF APRIL M. LINSCOTT IN SU PPORT OF MOTION TO SET BOND AM OUNT - I
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       2.     I am the attorney representing the potential Plaintiff in this case. I make these

statements based on my own personal knowledge.

       3.     I have contacted representatives of a local bonding company and insurance

company and discussed this unique requirement under Idaho law. I was informed by the

bonding company that bonds for this type of surety did not exist. I was informed by the

insurance company that the market for that particular bond is poor for several reasons. A

local insurance agent corroborated this information. Attached hereto as Exhibit "A" is a

true and correct copy of e-mail correspondence between myself and a local insurance

company.

       4.     I am aware that other attorneys have also had difficulty in finding bonds such

as the one required for this case. Attached hereto as Exhibit "B" is a Declaration fi led by

another attorney in a similar case.

       I declare under penalty of pctjury under the laws of the United States that the

foregoing is true and correct.

       EXECUTED this 1st day of June, 20 18.

                                            OWENS, McCREA & LINSCOTT, PLLC



                                                              COTT, ISB#7036
                                               torneys for Plaintiff




DECLARATION OF APRIL M. LINSCOTT IN SUPPORT OF MOTION TO SET BOND AMOUNT- 2
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                                                                                            April Linscott <allnscott@omllaw.com>



 FW: FW: Civil Surety Bond
 1 message

 Toni Norton <tonl@janjlnsurance.com>                                                                      Mon, Apr 13, 2015 at 3:54PM
 To: April Linscott <alinscott@omllaw.com>


    April :



    This is kom the underwriter. Sorry this isn't easier! Let me know if you need anything further.



    Toni,



    My recommendation is that they try to simply post the cash to the court. If they want to go the bond route
    then I will need 100% cash collateral as well as the bond premium.



   · If they want to further explore posting a bond, I would need documentatio n of the amount and bond form
     after it is determined by the two parties involved.



    Regards,

    Todd




                                                                                                                 EXHIBIT        A
https:/lmail.google.com/mall/u/O/?ui=2&ik=c47c2b20be&vlew=pt&q=Jesberger&qs=true&search=query&th=14cb50044326b95a&siml=14cb50044326b95a   1f7
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                             UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO



SAMUEL THIEMANN; JOSEPH ZAHN;
WILLIAM WILLIAMS; NORM SELLARS;
GARY KAESTNER; JACOB MacDONALD;
LESLIE GOODMAN; GARY BRANT; LYNN
LEE; MICHAEL SNIDER; DANIEL BUGLI;
DON FLEDERBACH,                                   Case No.


               Plaintiffs,

                                                  DECLARATION OF CRAIG H.
v.                                                DURHAM



SHERIFF KIERAN DONAHUE; JOHN
AND JANE DOES #1-10, members of the
Treasure Valley Metro Violent Crimes and
Gang Task Force; JOHN DOES #11-20,
members of the Nampa Police Department;
JOHN DOES #21-30, members of the Bureau
of Alcohol, Tobacco, Firearms and
Explosives; JOHN DOES #31-40, members of
the Canyon County Sheriff's Office; .JOHN
 DECLARATION OF CRAIG H. DURHAM- 1
                                                                       EXHIBIT~
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DO.ES #41-50, members of the Federal
Bureau oflnvestigations; CANYON
COUNTY, a political subdivision of the State
ofldaho, by and through the Canyon County
Sherifrs Office; CITY OF NAMPA, by and
through the Nampa Police Department,



               Defendants.




       I, Craig Durham, declare under the penalty of perjury that following statements are true

and conect:

       I.      l am over the age of 18 and competent to testify about the matters stated herein.

       2.      l am one of the attorneys representing the potential plaintiffs in this case. l make

these statements based on my own personal knowledge.

       3.      l have discussed the pre-filing bond requirement with the potential plaintiffs and

their flnancial circumstances. The declarations submitted in support of the Motion to Waive or

Set Bond are intended to provide the Court with a representative sample of the potential

plaintiffs' limited financial means and ability to post a bond.

       4.       I have also contacted a representative ot' Allied Bonding and discussed this

tmique requirement under Idaho law and was infom1cd that the market for that particular bond is

poor for several reasons. A local insurance agent corroborated this information. (Exhibit A.)

       I declare under penalty of pe1jury under the laws of the United States that the foregoing is

true and correct.

Executed this 5th clay of May, 2014




DECLARATION OF CRAIG H. IJURI-IAM- 2
CaseCase
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                            EXHIBIT A
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From: John Schoonover Uohn@bcins-id.com)                  This sender is in your safe list.
Sent Tue 4/08/14 2:36PM
To:   Craig Durham (craig@chdlawoffice.com)

Ok, we talked to Janet (w ho you talked to at All ied bondi ng as well) and a CNA bond und erw riter who say
these are almost impossible to get.




Reason 1- no two suret y companies want to be co-sureties on a smaller bonds. Th ey will go in together on
large lOOmil construction projects and the like to mitigate risk but will not on small "commercial bonds". That
was w hat th e underwriter called these .


Reason 2- t he surety needs to know exactly who they are bond ing and make sure its legitimate, they
underwrite risks and will avoid risks that could pay out. For some re ason they think these will pay out easier
than most other bonds.




Both bonding people said they h ave on ly heard of one attorney that got one. The attorney was base d in
Lewiston about lOyears ago. Otherwise they have not heard of one that met the exact letter of the code .




Both sa id that we could ask o ne market at a time and if the individua l nee ding the bond was financiall y viable,
one market may write the bond like you had with the example you sent me. But notice there are not two
sureties on that bond - only one su rety company is on that bond.




One of the markets is going back in his notes and w ill advise us of what he found out a few years ago.


Agai n to his kn owledge, no one other than the Lewiston attorney has gotte n a bond to meet the lette r of the
statute.


John
